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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

BILLIE FAYE KEYES, JOSHUA ALLEN,
COURTNEY RENA FORTUNE, KARLI FORD
MATTHEWS AND SHELTON S. MATTHEWS                                               PLAINTIFFS

V.                                              CIVIL ACTION NO. 3:16cv228-CWR-LRA

PHILIP GUNN, ET AL                                                           DEFENDANTS


              PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION
             TO DISMISS FOR FAILURE TO STATE A CLAIM (DKT # 8)


       Come now Plaintiffs in the above styled and numbered cause respond to the

Defendants’ Motion to Dismiss for Failure to State a Claim (Dkt # 8), oppose that motion,

and would show unto the Court as follows:

       1.     Defendants allege there is no federal constitutional right to vote. As discussed

in the Plaintiffs’ Combined Memorandum in Response to the Motions to Dismiss, there is

a federal constitutional right to vote. See Memorandum, Section I, The Right to Vote. The

Mississippi House of Representatives, its Speaker and Special Committee members cannot

violate that right under the Supremacy Clause. See discussion in Section II, Supremacy

Clause, in Plaintiffs’ Combined Memorandum in Opposition to the Motions to Dismiss.

       2.     Defendants    assert that they correctly applied         Mississippi   law    in

disenfranchising the Plaintiffs by refusing to count their lawfully cast ballots. But this

assertion requires evidence outside the pleadings. By proceeding with motions to dismiss,

Defendants have, for the purpose of these motions, admitted the allegations of the Complaint.
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For the reasons set forth in Plaintiffs’ Combined Memorandum in Response to Defendants’

Motions to Dismiss, this argument of Defendants must fail. See Memorandum, Section VII,

Allegations of Complaint are Admitted for Purposes of Motion to Dismiss.

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that the Court deny

Defendants’ Motion to Dismiss for Failure to State a Claim.

      DATED: June 27, 2016.

                                  Respectfully submitted,

                                  BILLIE FAYE KEYES, JOSHUA ALLEN,
                                  COURTNEY RENA FORTUNE, KARLI FORD
                                  MATTHEWS AND SHELTON S. MATTHEWS

                                  BY: /s/ John G. Corlew
                                         JOHN G. CORLEW


John G. Corlew (MSB # 6526)
CORLEW MUNFORD & SMITH PLLC
4450 Old Canton Road; Suite 111 (39211)
Post Office Box 16807
Jackson, MS 39236-6807
Telephone: 601-366-1106
Facsimile: 601-366-1052
jcorlew@cmslawyers.com


William R Ruffin
Attorney at Law
12 N Third St Bay Springs, MS (39422-9798)
Post Office Box 565
Bay Springs, MS 39422-0565
Telephone: 601-764-4555
Facsimile: 601-764-2234
attywrr@bayspringstel.net

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                            CERTIFICATE OF SERVICE

       I, John G. Corlew, hereby certify that I electronically filed the foregoing with the
Clerk of Court using the ECF system which will automatically send email notification of
such filing to the following:

              Michael B. Wallace
              mbw@wisecarter.com

       DATED: June 27, 2016.

                                   /s/ John G. Corlew
                                          JOHN G. CORLEW




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